
16 N.Y.2d 833 (1965)
Arnold Schildhaus, Appellant,
v.
City of New York, Respondent.
Court of Appeals of the State of New York.
Submitted July 8, 1965.
Decided July 9, 1965.
Leo A. Larkin, Corporation Counsel (Seymour B. Quel of counsel), for motion.
Arnold Schildhaus, pro se, opposed.
Motion granted and appeal dismissed, with costs and $10 costs of motion, upon the ground that the order sought to be appealed from does not finally determine the action within the meaning of the Constitution and, in addition, involves nonreviewable discretion (Keller v. United States Lines, 15 N Y 2d 908).
